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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE
____________________________________
UNITED STATES OF AMERICA,            )
                                     )
            Plaintiff,               )
                                     )
      v.                             )     Criminal Action No. 16-61-GMS-1
                                     )
JOSHUA RUTHERFORD,                   )
                                     )
            Defendant.               )

                                              ORDER

               At Wilmington this 9TH day of January, 2018, having been advised by counsel that

the defendant intends to enter a plea of guilty,

               IT IS ORDERED that a change of plea hearing is scheduled for Wednesday,

February 21, 2018 at 2:00 p.m. in Courtroom 4A, J. Caleb Boggs Federal Building, 844 N. King

Street, Wilmington, Delaware.

               IT IS FURTHER ORDERED that the time between this Order and the February 21,

2018 plea hearing shall be excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(I).



                                               /s/ Gregory M. Sleet
                                               UNITED STATES DISTRICT JUDGE
 
